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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

ERIC HERNANDEZ, on behalf of
himself and others similarly
situated,

               Plaintiff,
                                         CASE NO.: 4:14-CV-00107-HLM
vs.

ALPH OMEGA PROPERTY
MANAGEMENT, LLC.,

            Defendant.
____________________________/

            JOINT NOTICE OF NO COMPROMISE AND
         STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW, Plaintiff ERIC HERNANDEZ, pursuant to Rule 41 of

the Federal Rules of Civil Procedure, and files this, his Joint Notice of No

Compromise and Stipulation of Dismissal with Prejudice. The parties have

settled this matter and have executed a settlement agreement resolving this

dispute. Plaintiff brought claims under the Fair Labor Standards Act,

and Plaintiff avers that in settling these claims, he did not compromise his

claims for wages or liquidated damages under the Fair Labor Standards Act,

and that attorneys’ fees were negotiated separately. Consequently, Court

review of the settlement is not required under Lynn's Food Stores, Inc. v.

U.S., 679 F.2d 1350, 1353 (11th Cir. 1982). Plaintiff therefore requests that

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the Court dismiss this action in accordance with Rule 41 of the Federal Rules

of Civil Procedure, as all parties stipulate to dismissal with prejudice, with

each side to bear its own fees and costs.

      Respectfully submitted this 22nd day of July, 2015.

/s/TODD K. MAZIAR                            /s/ C. CHAD YOUNG
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                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 22nd day of July, 2015, I

electronically filed the foregoing with the Clerk of the Court by using the

CM/ECF.

                                     /s/ ANGELI MURTHY_____
                                     ANGELI MURTHY, ESQ.




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